1    AUSTIN P. NAGEL, ESQ.
     California State Bar #118247
2    LAW OFFICES OF AUSTIN P. NAGEL
     111 Deerwood Road, Suite 305
3
     San Ramon, California 94583
4    Telephone: (925) 855-8080
     Facsimile: (925) 855-8090
5
     Attorneys for Secured Creditor,
6    FORD MOTOR CREDIT COMPANY
7
                              UNITED STATES BANKRUPTCY COURT
8
                              NORTHERN DISTRICT OF CALIFORNIA
9
      In Re:                                            Case No. 17-10065 aj
10                                                      (Chapter 11 Proceeding)
      SULLIVAN VINEYARDS
11
      CORPORATION,                                      REQUEST FOR SPECIAL NOTICE
12                                                      AND INCLUSION IN MAILING LIST
           Debtor.
13    ______________________________/
14   TO THE CLERK OF THE UNITED STATES BANKRUPTCY COURT AND TO ALL
15
     PARTIES IN INTEREST:
16
               PLEASE TAKE NOTICE that Secured Creditor, FORD MOTOR CREDIT
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     COMPANY, hereby requests that it receive special notice, via its attorney of record herein, of
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19   all matters which must be noticed to or by the Court, Debtor, Creditors, the Trustee, or any

20   other parties in interest.

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Case: 17-10065        Doc# 57     Filed: 03/07/17       Entered: 03/07/17 12:03:58    Page 1 of 3
1           Secured Creditor, FORD MOTOR CREDIT COMPANY, further requests that all such
2
     documentation be sent to the following address:
3

4                              FORD MOTOR CREDIT COMPANY
                                    c/o Austin P. Nagel, Esq.
5                             LAW OFFICES OF AUSTIN P. NAGEL
                                 111 Deerwood Road, Suite 305
6
                                     San Ramon, CA 94583
7

8     Dated: March 6, 2017                            LAW OFFICES OF
                                                      AUSTIN P. NAGEL
9

10
                                                      /s/ Austin P. Nagel
11                                                    Attorneys for Secured Creditor,
                                                      FORD MOTOR CREDIT COMPANY
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Case: 17-10065      Doc# 57     Filed: 03/07/17       Entered: 03/07/17 12:03:58   Page 2 of 3
1                                  PROOF OF SERVICE BY MAIL
2
            I, the undersigned, declare that I am employed in the County of Contra Costa, State of
3    California. I am over the age of 18 years and am not a party to the within action. My business
     address is 111 Deerwood Road, Suite 305, San Ramon, California 94583.
4
              On March 7, 2017 I served the REQUEST FOR SPECIAL NOTICE on the interested
5    parties in said action. To those parties served via the United States Mail, such parties were served
     by placing a true copy thereof, enclosed in a sealed envelope with postage thereon fully prepaid,
6
     in the United States Mail at San Ramon, California. I am readily familiar with our business
7    practice for collection and processing of correspondence for mailing, and this document will be
     deposited with the United States Postal Service this day in the ordinary course of business. The
8    interested parties were served as follows:
9     Sullivan Vineyards Corporation                      Lynette C. Kelly
      P.O. Box G 1090 Galleron Road                       Office of the U.S. Trustee
10
      Rutherford, CA 94573                                Phillip J. Burton Federal Building
11                                                        450 Golden Gate Ave. 5th Fl., #05-0153
      Steven Olson                                        San Francisco, CA 94102
12    100 E Street #104
      Santa Rosa, CA 95404                                U.S. Trustee
13                                                        Phillip J. Burton Federal Building
14                                                        450 Golden Gate Ave. 5th Fl., #05-0153
                                                          San Francisco, CA 94102
15
            I declare under penalty of perjury that the foregoing is true and correct and that this
16   Proof Of Service was executed on March 7, 2017 at San Ramon, California.
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18                                                   _/s/ Melissa Alcorn

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     FBKE.3782
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Case: 17-10065        Doc# 57      Filed: 03/07/17        Entered: 03/07/17 12:03:58       Page 3 of 3
